Case 4:17-cV-03877 Document 24 Filed in TXSD on 04/18/18 Page 1 of 3

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IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT APR 1 SE 2018

David J. Brud|ey, Clerk of Coul'l
NO. 18- 20093

4=17-cv-3877
KAMME (),

 

Plaintiff - Appellant A True Copy
Certified order issued Apl‘ 18, 2018

V.

TEXAS A & M UNIVERSITY SYSTEM Clerk, dw($‘w Court of peals, Fifth Circuit

Defendant - Appellee

 

Appeal from the United States District Court
for the Southern District of TeXas

 

Before HIGGINBOTHAM, SMITH, AND CLEMENT, Circuit Judges.
PER CURlAl\/l:

This court must examine the basis of its jurisdiction on its own motion if
necessary. Hill U. City of Seuen Points, 230 F.3d 167, 169 (5th Cir. 2000). ln
this employment discrimination case, the plaintiff filed a motion for
appointment of counsel. The district court referred the motion to the
magistrate judge, Who denied it. The plaintiff filed a notice of appeal from that
order.

Appellate courts do not have authority to review orders of a magistrate
judge directly unless the parties have consented to have the magistrate judge

preside over the case and enter judgment See Barber v. Shinseki, 660 F.3d

Case 4:17-cV-03877 Document 24 Filed in TXSD on 04/18/18 Page 2 of 3

18-20093

877, 878-79 (5th Cir. 2011) (per curiam). Lacking consent, the magistrate
judge’s rulings are reviewable only by appeal to the district court. Colburn U.
Bunge Towing, Inc., 883 F.2d 372, 379 (5th Cir. 1989); see also 28 U.S.C. §
636(b)(1)(A). Here, the parties did not both consent to have the magistrate
judge preside over the case. Therefore, We are Without jurisdiction over this

appeal and it must be dismissed.

lT IS SO ORDERED.

Case 4:17-cV-O3877 Document 24 Filed in TXSD on 04/18/18 Page 3 of 3

United States Court of Appeals

FIF'I`H CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

April 18, 2018

Mr. David J. Bradley

Southern District Of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

NO. 18-20093 Kamme O v. Texas A & M University System
USDC NO. 4:17-CV-3877

Dear Mr. Bradley,

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,

LYL? W. CAYCE, Cl€::M//

Andellque B. Tardle, Deputy Clerk
504-310-7715

 

cc w/encl:
Ms. Yvonne Denise Bennett
Mr. Kamme O

